





TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-00-00403-CR







Judy Ann Simmons, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 50,290, HONORABLE JOE CARROLL, JUDGE PRESIDING







Appellant Judy Ann Simmons pleaded guilty to aggravated assault on a public
servant with a deadly weapon.  See Tex. Penal Code Ann. § 22.02 (West 1994).  The district court 
adjudged her guilty and assessed punishment at imprisonment for thirty years.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App.
1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the appeal.

The judgment of conviction is affirmed.



				__________________________________________

				Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices Yeakel and Patterson

Affirmed

Filed:   March 8, 2001

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